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  In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-725V
                                        UNPUBLISHED


 STACEY HOSPES,                                             Chief Special Master Corcoran

                        Petitioner,                         Filed: October 12, 2021
 v.
                                                            Special Processing Unit (SPU);
 SECRETARY OF HEALTH AND                                    Ruling on Entitlement; Concession;
 HUMAN SERVICES,                                            Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Bridget Candace McCullough, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Catherine Elizabeth Stolar, U.S. Department of Justice, Washington, DC, for
Respondent.

                                   RULING ON ENTITLEMENT 1

        On June 15, 2020, Stacey Hospes filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a Table injury – shoulder injury related
to vaccine administration (“SIRVA”) – as a result of her November 16, 2018 influneza
(“flu) vaccination. Petition at 1. Petitioner further alleges the vaccine was administered
within the United States, that she suffered the residual effects of her injury for more than
six months, and that there has been no prior award or settlement of a civil action on her
behalf as a result of her injury. See Petition ¶¶ 2, 14-16. The case was assigned to the
Special Processing Unit of the Office of Special Masters.


1 Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required

to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       On October 7, 2021, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically, Respondent indicates that

        [m]edical personnel at DICP [Division of Injury Compensation Programs,
        Department of Health and Human Services] have reviewed the facts of this
        case and concluded that petitioner’s claim meets the Table criteria for
        SIRVA. Specifically, petitioner had no history of pain, inflammation or
        dysfunction of the affected shoulder prior to her vaccination that would
        explain the alleged symptoms and examination findings occurring after
        vaccine injection; she more likely than not suffered the onset of pain within
        forty-eight hours of vaccine administration; her pain and reduced range of
        motion were limited to the shoulder in which the vaccine was administered; 3
        and there is no other condition or abnormality present that would explain
        petitioner’s symptoms. 42 C.F.R. § 100.3(a), (c)(10). Therefore, petitioner
        is entitled to a presumption of vaccine causation.


Id. at 5-6. Respondent further agrees that

        this case was timely filed, that petitioner received her vaccination in the
        United States, and that petitioner satisfies the statutory severity requirement
        by suffering the residual effects or complications of her injury for more than
        six months after vaccine administration. See 42 U.S.C. §§ 300aa-
        11(c)(1)(D)(i). Thus, in light of the information contained in petitioner’s
        medical records, respondent concedes that entitlement to compensation is
        appropriate under the terms of the Vaccine Act.

Id. at 6.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                        s/Brian H. Corcoran
                                        Brian H. Corcoran
                                        Chief Special Master




3Respondent notes in his Rule 4 (c) Report that “[a]lthough petitioner did not file any records
documenting the site of vaccine administration, she consistently reported symptoms in her left shoulder
and attributed these symptoms to her vaccination.” Respondent’s Rule 4(c) Report at 6 n6 (citing Pet.
Exs. 2-3).

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